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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                    )
PETER P. STRZOK,                                    )
                                                    )
                               Plaintiff,           )
                                                    )
                       v.                           )   Case No. 1:19-CV-2367-ABJ
                                                    )
WILLIAM P. BARR, in his official capacity           )
as Attorney General of the United States, et al.,   )
                                                    )
                               Defendants.          )
                                                    )


        PLAINTIFF’S SURREPLY IN OPPOSITION TO DEFENDANTS’ MOTION TO
             DISMISS AND FOR SUMMARY JUDGMENT (ECF No. 30)
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       The aims of releasing Mr. Strzok’s text messages were to punish Mr. Strzok personally for

sending texts critical of Candidate and President Trump and to discredit the then-ongoing Special

Counsel investigation. Beginning with an initial leak to the media through the White House to

whet the appetite of the President’s allies in Congress, and followed by further disclosures to the

press before the DOJ Inspector General could complete his investigation determining that bias did

not influence the FBI’s conduct of the investigation, officials within the Justice Department

enabled the very politically-motivated attacks on the FBI and the Special Counsel by the President

and his allies that the FBI then invoked as grounds for firing Mr. Strzok.

       The government’s Reply and the new declaration of former Deputy Attorney General Rod

Rosenstein (ECF Nos. 38, 38-1) confirm the need for discovery before the Court considers the

government’s summary judgment motion. By filing a new declaration with the Reply, the

government effectively admits that its original submission of the Boyd and Winn declarations did

not warrant summary judgment on the Privacy Act claim. But the Rosenstein Declaration

delicately avoids the subject of responsibility for the original, pre-December 2, 2017 leak about

the text messages to The New York Times and The Washington Post, and as to the December 12,

2017 release, describes a decision-making process in which DAG Rosenstein relied on reports by

subordinates that were not accurate and a bare conclusion about the legality of disclosure under

the Privacy Act, rather than having made his own determination of the Privacy Act question. The

declaration also shows that in deciding to release the text messages former-DAG Rosenstein

(1) conflated the absence of a Fourth Amendment expectance of privacy with the absence of

Privacy Act protections, and that he (2) failed to consult with the Inspector General about the

legality of releasing the messages to the press. The willfulness of the agency’s conduct cannot be

assessed without exposing through discovery the communications and actions of the various DOJ



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officials directly involved in the decisions to disclose the text messages to the White House and

later directly to the press.

        The government also speculates recklessly that Michael Flynn’s lawyers at Covington &

Burling, not DOJ, were behind the original December 2 leak, but this makes no sense. Flynn had

already entered an agreement to cooperate with the Special Counsel so his lawyers had no motive

to leak and considerable risk in disclosing material provided in confidence; moreover, the leaks

included information not disclosed to Flynn, and the pre-complaint investigation specifically

traced the leak to the White House. The Court can disregard the government’s speculation as

nothing in the summary judgment record supports it, and it has no bearing on the plausibility of

the allegations in the Complaint.

        The government’s use of the Rosenstein Declaration to preclude discovery into the Privacy

Act allegations in the Complaint is of a piece with its attempt to persuade the Court that “the

President’s statements have no bearing on the Court’s analysis” of the reasons for Mr. Strzok’s

termination. Reply at 13. Both arguments ask this Court to presume the truthfulness of what the

Plaintiff alleges (and the available evidence shows) are pretextual explanations for what would

otherwise be unlawful government actions. The government thus misfires when it attempts to

distinguish this case from the pretext cases cited in the Opposition. Reply at 7-8.1 Here, the

official, institutional explanation for Strzok’s termination has nothing to do with an attempt to

placate a President determined to punish what he sees as insolence and undermine the public’s

faith in the FBI. There is no reason for the Court, Plaintiff, or the public to accept the official story

at face value, given the chronology set forth in the Complaint and repeated statements by President


1
 Pappas v. Giuliani, 290 F.3d 143 (2d Cir. 2002), cited for the first time in the reply, involved
communications that the plaintiff had intentionally disseminated to the public in violation of police
department regulations.

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Trump directly undermining the official narrative. This is particularly true given the track record

of this Administration in proffering sham rationales to explain improper and/or unlawful acts by

the President.

       The government also argues for the first time that the Court has no jurisdiction over the

Fifth Amendment claim, asserting exclusive Merit System Protection Board (“MSPB”)

jurisdiction, when it told the MSPB it had no jurisdiction and prevailed.

I.     THE BELATED FILING OF THE ROSENSTEIN DECLARATION DOES NOT
       ENTITLE DEFENDANTS TO JUDGMENT ON THE PRIVACY ACT CLAIM.

       The government cannot hide the evidence of DOJ’s willful violation of the Privacy Act

behind Rod Rosenstein’s record of public service and reputation earned in prior administrations.

First, it would be procedurally improper to rely on the Rosenstein Declaration, because the

government deliberately withheld and did not include the information in its Statement of

Undisputed Material Facts filed pursuant to Local Rule 7(h)(1) and Fed. R. Civ. P. 56(c). The

Rule 7(h) statement and the opposing party’s response constitute the factual record for purposes

of summary judgment. Rule 56(c) forbids the entry of summary judgment on the basis of facts to

which the opposing party has not had an opportunity to respond. See Dutta v. State Farm Mut.

Auto. Ins., 895 F.3d 1166, 1172 (9th Cir. 2018); Seay v. TVA, 339 F.3d 454, 481–82 (6th Cir.

2003); Black v. TIC Inv. Corp., 900 F.2d 112, 116 (7th Cir. 1990). Together those rules prohibit

a party seeking summary judgment from holding back evidence until a reply.

       The Court has the discretion to disregard the new facts offered for the first time with a

summary judgment reply when, as in this case, there is no colorable reason for the government’s

failure to include those facts in its original motion.      There is a vast difference between

supplementing the record with declarations in support of summary judgment at the conclusion of

discovery (which is routine) and injecting completely new “facts” in a pre-discovery summary


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judgment reply memorandum (as happened here). It could not have come as a surprise to the

government that under Convertino v. United States Department of Justice, 684 F.3d. 93 (D.C. Cir.

2012), Plaintiff must be afforded adversarial discovery, including the opportunity to obtain

evidence from the person who decided to release records in violation of the Privacy Act. Yet the

government first chose to move for summary judgment on the basis of pre-discovery declarations

from one DOJ official who “was not directly involved” in the disclosure of the text messages to

the press and lacked personal knowledge of the facts, and a second DOJ official who did not

finalize an opinion on the legality of disclosing the text messages until weeks after they had been

released, while refusing to provide the analysis he reached at the time. Boyd Decl. ¶ 12, ECF 30-

3; Statement of Genuine Issues (“SOGI”) ¶¶ 25, 56d, ECF No. 36-2. The government now

implicitly concedes that its initial motion for summary judgment on the Privacy Act claim was

flawed. But the Rosenstein Declaration does not in any way eliminate Plaintiff’s need for

discovery at this stage of the litigation. The most efficient approach would be for the Court to

simply disregard the Rosenstein Declaration rather than permit the government to constructively

rewrite its Rule 7(h) statement.

       Second, the Rosenstein Declaration does not provide a basis for summary judgment in

favor of the agency. The statutory question is whether “the agency acted in a manner which was

intentional or willful,” not whether the particular individual who made the final call to authorize

release had a bad purpose or intended to flout the law. 5 U.S.C. § 552a(g)(4) (emphasis added).

An agency is liable for damages when it is willfully indifferent to its legal obligations under the

Privacy Act.2 The Rosenstein Declaration asserts that he relied on information provided by others



2
  See In re U.S. Office of Pers. Mgmt. Data Sec. Breach Litig., 928 F.3d 42, 63 (D.C. Cir. 2019)
(concluding that complaint “clears [the intentional or willful] hurdle by plausibly and with
specificity alleging that OPM was willfully indifferent to the risk that acutely sensitive private

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and made no Privacy Act determination himself. Thus, the determination whether the agency was

willfully indifferent cannot be answered without discovery into the statements and information

Rosenstein considered.

       For example, Rosenstein recounts that he relied on a second-hand report that a subordinate

(Winn) had concluded that release of the text messages would not violate the Privacy Act.

Rosenstein Decl. ¶ 16. The government has not produced, and indeed, has withheld, records of

the subordinate official’s analysis, which the government does not dispute was finalized on

January 4, 2018 and then back-dated to December 12, 2017. In fact, so far as the record reveals,

Mr. Winn prepared exactly nothing to document his analysis on December 12, 2017 despite

recognizing that the Privacy Act was implicated by the secretive, late-night disclosure of Mr.

Strzok’s text messages. Id. ¶ 16; Winn Decl. ¶¶ 7–18, ECF No. 30-4.3 But even if the summary

judgment record included that analysis, Rosenstein made his decision without reviewing it; he

rubber-stamped a bare conclusion of Privacy Act compliance, sight unseen. See Rosenstein Decl.

¶¶ 16–17. There is no factual basis upon which this Court could find that Rosenstein took adequate

steps to comply with the Privacy Act just because someone told him that Winn thought it was

permissible, even if Winn had in fact reached such a conclusion by that time, a fact that remains

to be determined in discovery.




information was at substantial risk of being hacked”). Willful indifference is equivalent to
recklessness. See Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 57 (2007) (interpreting civil statute
as extending civil liability for willful acts to “not only knowing violations of a standard, but
reckless ones as well”). Recklessness and willful indifference go beyond gross negligence. See
United States v. Krizek, 111 F.3d 934, 941–42 (D.C. Cir. 1997).
3
  The government cannot rely on Winn’s opinion and refuse to produce it on the basis of any
privilege. Reliance on Winn’s advice waives the attorney-client as well as deliberative process
privilege.

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       Rosenstein also states that he understood the Office of the Inspector General had raised no

objections to release of the text messages. Id. ¶ 11. But the Inspector General himself reported to

Congress that DOJ did not consult with his office about releasing the text messages to the press.

SOGI ¶ 56h; see also SOGI Ex. M, ECF No. 36-15. And even if one parses the Rosenstein

Declaration generously to conclude that DOJ did consult with OIG about whether release of the

messages to Congress would interfere with an ongoing OIG investigation, DOJ did not consult

with OIG about whether the release of the text messages, even to Congress, were consistent with

“applicable legal and ethical standards” including the Privacy Act. SOGI Ex. M at 2. That failure

to consult with OIG dooms the government’s attempt to rely on a purported “routine use”

promulgated by OIG. See generally Rosenstein Decl.; Am. Goelman Decl. ¶ 9.

       Rosenstein’s declaration offers no explanation for the surreptitious manner in which DOJ

disclosed the messages to the press: inviting select reporters into its offices under the cover of

darkness and instructing them not to source the text messages to DOJ. SOGI ¶¶ 56b, 56g. This

behavior is consistent with consciousness of guilt and inconsistent with the confidence in the

legality of its action that the agency now claims it had. The same is true of DOJ’s effort to claim

that OIG had approved the release of the text messages when it had not.

       The Rosenstein Declaration also does not address DOJ’s responsibility for the coordinated

leaks to The New York Times and The Washington Post before December 2, 2017. If, as the

Complaint alleges (¶¶ 59-61), this original leak was part of a scheme to elicit requests for public

disclosure of the text messages in furtherance of the broader goal of attacking the Special Counsel

investigation, then DOJ’s disclosure of the messages to satisfy a congressional appetite its own

leak had created and, in turn, to release the messages to the press in anticipation of release by

Congress merely consummated a scheme showing flagrant disregard for Plaintiff’s rights under



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the Privacy Act. Rosenstein’s declaration does nothing to refute this allegation, or to support the

government’s speculation that Michael Flynn’s lawyers were responsible for the leak.4 Not only

do the contents of the articles themselves and the investigation of the facts before filing Mr.

Strzok’s Complaint refute the government’s reckless claim of professional misconduct by Flynn’s

lawyers, it also makes no sense for Flynn’s lawyers to have leaked information to the press after

having already entered into a plea agreement with the Special Counsel on November 30, 2017.

See Am. Goelman Decl. ¶ 10. The filing of the information on November 30, 2017 and the plea

agreement the following day provided a motive for President Trump’s allies at DOJ and in the

White House to leak the text messages in an effort to discredit an investigation that was drawing

close to home on December 2—not General Flynn’s lawyers. See id.

       Third, Rosenstein’s declaration shows at least reckless disregard for the interests protected

by the Privacy Act. If, as noted above, DOJ was responsible for the initial coordinated leak of

information about the text messages before December 2, that leak cannot be invoked as a reason

why a further disclosure would be appropriate. Moreover, it is simply not the case that a person

has no privacy interest in avoiding public disclosure of records just because they were “subject to

review by [the] FBI.” Rosenstein Decl. ¶ 13. Records such as interoffice emails are constantly

scrubbed of personal information notwithstanding the fact that the emails are subject to agency

review. Given the FBI’s policy of permitting personal use of FBI phones, the Rosenstein

Declaration suggests a shocking disregard for the privacy interests of government employees in


4
  The government speculates, without any evidentiary support, that General Flynn’s lawyers (then
at Covington & Burling) were responsible for the leak. But the articles included details about Mr.
Strzok and Ms. Page’s relationship and reactions to their text messages by DOJ employees that
Gen. Flynn’s attorneys did not even possess, and which Plaintiff’s pre-Complaint investigation
traced to the White House. See Am. Goelman Decl. ¶ 10. The government’s implicit assertion
that Gen. Flynn’s attorneys leaked the texted messages is desperate speculation. The Court should
have none of it.

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permissible personal communications over government-owned devices.                That is evidence

supporting liability for willful indifference.

       The Rosenstein Declaration also shows that the decision to release the text messages to the

press was made hastily with the objective of minimizing harm to the FBI and DOJ from

presidential and congressional attack. Rosenstein Decl. ¶¶ 15, 18. It is clear from the sequence of

events Rosenstein describes that he “learned that the text messages were ready for release” on

December 12, allowing at most a few hours before DOJ invited reporters to come to the

Department to secretly review them. Id. ¶ 10. Winn himself was not consulted about the Privacy

Act implications until the afternoon of December 12. See Winn Decl. ¶ 4; Pls.’ Ex. C, ECF No.

36-5. Rosenstein declined the option of delaying disclosure to Congress and seems to have rejected

delaying disclosure to the press because he thought it would minimize harm to the FBI and DOJ.

Rosenstein Decl. ¶¶ 14, 15. Rosenstein implies in passing that he thought it would also better

“respect valid privacy interests of employees,” but earlier in his declaration he dismisses Mr.

Strzok’s privacy interest. Id. ¶¶ 13, 18. The implication that DAG Rosenstein rushed the decision

in part out of concern for Mr. Strzok’s privacy interests is both facially incredible and inconsistent

with his assertion that Mr. Strzok had no privacy right. To the contrary, because DOJ released the

text messages before the OIG had completed its investigation into whether the FBI had been

influenced by bias, that hasty decision harmed Mr. Strzok by giving President Trump and his

political allies the opportunity to falsely spin the text messages into an attack on the investigation

as corrupted by political bias. The early disclosure of the messages outside of the context of the

OIG investigation through which they had come to light meant more exposure and more harm. An

agency that sacrifices the Privacy Act protections of its employees without their consent for the




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benefit of the agency’s public image has plainly acted in flagrant disregard of their rights under

the Act.5

II.    PLAINTIFF HAS A VALID DUE PROCESS CLAIM AND THE COURT HAS
       JURISDICTION TO CONSIDER IT.

       After Mr. Strzok was dismissed from the FBI, he appealed his dismissal to the MSPB. The

government moved to dismiss his appeal, successfully claiming that the MSPB “does not have

jurisdiction over the appeal.” Am. Goelman Decl. Ex. S, Agency’s Mot. to Dismiss for Lack of

Jurisdiction at 2, Strzok v. Dept. of Justice, DC-0752-18-0803-I-1 (MSPB Oct. 5, 2018). The

government now argues, for the first time in its Reply, that even if Mr. Strzok had a property

interest in his continued FBI employment, “the only proper forum [is] the MSPB.” Reply at 14

(emphasis added).

       This game of jurisdictional whack-a-mole exposes the government’s true position: there is

no court, administrative body, or other authority that has the right to review Plaintiff’s termination.

       Mr. Strzok’s property interest does not, in any event, turn only on whether the FBI had

made a final decision to impose discipline that would have restored his right to MSPB review as a

veteran. The LCA also conferred a property interest as a contract. In its Reply, at 16, the

government argues that the LCA was merely a “request” rather than a binding contract, because

the face of the LCA was signed only by Plaintiff and his counsel. But the LCA was executed by

the FBI on August 8, when AD Will explicitly made the LCA part of her final decision suspending

the Plaintiff for 60 days. See Defs.’ Ex. 4 at 23, ECF No. 30-5. Whether or not the face of the

LCA, which contains no signature block for the agency, was signed on behalf of the government,



5
 The assumption that Congress would have disclosed the text messages anyway has no bearing
on whether the Privacy Act permitted DOJ to release them, even if it might affect a jury’s
calculation of damages.

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it became a legally enforceable contract when OPR accepted it after Mr. Strzok’s surrender of

various valuable rights, including the right to appeal OPR’s decision, and explicitly relied on the

LCA’s promises by forgoing his right to present additional evidence under the Douglas factors.



Date: January 31, 2020                       Respectfully submitted,

                                             /s/ Aitan D. Goelman
                                             Aitan D. Goelman (DC Bar 446636)
                                             ZUCKERMAN SPAEDER LLP
                                             1800 M Street, NW, Suite 1000
                                             Washington, DC 20036
                                             Tel: (202) 778-1800
                                             AGoelman@zuckerman.com

                                             /s/ Richard A. Salzman
                                             Richard A. Salzman (DC Bar 422497)
                                             HELLER, HURON, CHERTKOF & SALZMAN
                                             PLLC
                                             1730 M Street, NW, Suite 412
                                             Washington, DC 20036
                                             Tel: (202) 293-8090
                                             salzman@hellerhuron.com




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